                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________
GREGORY L. BOWIE,

                          Plaintiff,
      v.                                             Case No. 20-cv-1108-pp

AGENT GATES, JUSTIN KOEPNICK
and KRISTI WILCOX,

                        Defendants.
______________________________________________________________________________

  ORDER DISMISSING CASE FOR PLAINTIFF’S FAILURE TO PAY INITIAL
                            PARTIAL FILING FEE
______________________________________________________________________________

      On August 4, 2020, the court issued an order requiring the plaintiff to

pay an initial partial filing fee of $58.00 by August 25, 2020. Dkt. No. 6. A week

before the initial partial filing fee was due, the plaintiff filed a motion for

extension of time to pay the fee. Dkt. No. 7. The court granted that motion and

ordered the plaintiff to pay the fee by October 26, 2020. Dkt. No. 8. The court’s

August 24, 2020 order warned the plaintiff that if the court did not receive

either the initial partial filing fee or a written document explaining why he

could not pay the fee by October 26, 2020, the court would dismiss the case

without prejudice. Id. at 2.

      October 26, 2020 has passed, and the court has not received anything

from the plaintiff. The court checked the inmate locator site for the Kenosha

County Detention Center; the plaintiff is still there. The court will dismiss the

case without prejudice.



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      The court ORDERS that this case is DISMISSED WITHOUT PREJUDICE

for failure to pay the initial partial filing fee. The clerk will enter judgment

accordingly.

      This order and the judgment to follow are final. A dissatisfied party may

appeal this court’s decision to the Court of Appeals for the Seventh Circuit by

filing in this court a notice of appeal within 30 days of the entry of judgment.

See Fed. R. of App. P. 3, 4. This court may extend this deadline if a party timely

requests an extension and shows good cause or excusable neglect for not being

able to meet the 30-day deadline. See Fed. R. App. P. 4(a)(5)(A).

      Under limited circumstances, a party may ask this court to alter or

amend its judgment under Federal Rule of Civil Procedure 59(e) or ask for relief

from judgment under Federal Rule of Civil Procedure 60(b). Any motion under

Federal Rule of Civil Procedure 59(e) must be filed within 28 days of the entry

of judgment. The court cannot extend this deadline. See Fed. R. Civ P. 6(b)(2).

Any motion under Federal Rule of Civil Procedure 60(b) must be filed within a

reasonable time, generally no more than one year after the entry of the

judgment. The court cannot extend this deadline. See Fed. R. Civ. P. 6(b)(2).

The court expects parties to closely review all applicable rules and

determine, what, if any, further action is appropriate in a case.

      Dated in Milwaukee, Wisconsin this 6th day of November, 2020.

                                       BY THE COURT:


                                       ________________________________________
                                       HON. PAMELA PEPPER
                                       Chief United States District Judge
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